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                                                                                                  United States Bankruptcy Court
                                                                                                      Southern District of Texas

                                                                                                         ENTERED
                          IN THE UNITED STATES BANKRUPTCY COURT                                          May 22, 2024
                            FOR THE SOUTHERN DISTRICT OF TEXAS                                        Nathan Ochsner, Clerk
                                     HOUSTON DIVISION

In re:                                                     §
                                                           §    Chapter 11
ALEXANDER E. JONES,                                        §
                                                           §    Case No. 22-33553 (CML)
           Debtor.                                         §
                                                           §
                                                           §

ORDER GRANTING DEBTOR’S MOTION FOR ORDER (I) AUTHORIZING SALE OF
  REAL PROPERTY FM 621 FREE AND CLEAR OF ALL LIENS, CLAIMS, AND
         ENCUMBRANCES AND (II) GRANTING RELATED RELIEF

           Upon consideration of the Motion for Order (1) Authorizing Sale of Real Property FM 621

Free and Clear of All Liens, Claims, and Encumbrances and (II) Granting Related Relief (the

“Motion”) [Docket No. 664] pursuant to sections 105 and 363 of the Bankruptcy Code and Federal

Rule of Bankruptcy Procedure 2002 and the statements made on the record at the hearing held on

the Motion, if any, the Court finds and concludes that it has jurisdiction over this matter pursuant

to 28 U.S.C. §§157 and 1334, this is a core matter pursuant to 28 U.S.C. §157(b)(2), notice of the

Motion was sufficient under the circumstances, and no further notice need be given. The Court

further finds that the Ranch1 was marketed for sale in a commercially reasonable manner and that

such marketing was adequate. The Court further finds that the sale to EMS Ranch, LLC (“EMS”),

an unrelated third party, having made the highest and best offer for the Ranch, is commercially

reasonable and in the best interest of the of the Debtor’s estate and creditors. The Court further

finds that the legal and factual bases set forth in the Motion establish just cause for the relief

granted herein, and thus the Motion should be granted. It is therefore

           ORDERED that the Motion is GRANTED as set forth herein. It is further



1
    Capitalized terms not defined herein shall have the meaning ascribed to them in the Motion.


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        ORDERED that the Contract, including all Amendments, by and between the Debtor and

EMS attached to this Order as Exhibit “A” and incorporated herein by reference is hereby

approved and the sale of the Ranch based upon the terms and conditions set forth in the Contract

and this Order to EMS is hereby approved. It is further

        ORDERED that pursuant to Sections 105(a) and 363(f) of the Bankruptcy Code, the

Property shall be sold to EMS and such sale shall be free and clear of all liens of any kind or nature

whatsoever except as set forth herein and in the Contract, with all such liens of any kind or nature

whatsoever attaching to the net proceeds of the sale in the order of their priority, with the same

validity, force, and effect which they now have as against the Ranch, subject to any rights, claims

and defenses the Debtor may possess with respect thereto. It is further

        ORDERED that any due and owing ad valorem property taxes will be paid at Closing from

sale proceeds in accordance with the Contract with the liens that secure all ad valorem property

tax amounts ultimately owed for tax year 2024 remaining attached to the Ranch and becoming the

responsibility of EMS. It is further

        ORDERED that the Contract was negotiated, proposed, and entered into by the Debtor

and EMS without collusion, in good faith, and from arm’s-length bargaining positions. It is further

        ORDERED that EMS is a good faith purchaser under Section 363(m) of the Bankruptcy

Code, and as such, is entitled to all of the protections afforded under said section of the Bankruptcy

Code. EMS will be acting in good faith within the meaning of Section 363(m) of the Bankruptcy

Code in consummating the transactions contemplated by the Contract and this Order. It is further

        ORDERED the Debtor or any other party in the chain of title resulting in the Debtor’s

ownership of the property is hereby authorized and empowered to take such steps and to perform

such acts as may be necessary to implement and effectuate the terms of this Order and the Contract,




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including without limitation, executing any document required by the title company necessary to

transfer title of the property to EMS. It is further

        ORDERED that net proceeds from the sale, after payment of reasonable closing costs and

estimated taxes to all relevant taxing authorities, including the IRS, shall be deposited into the

Escrow Account where the only authorized use for such funds without further order of this Court

shall be the payment of professional fees payable by the Debtor’s estate during the pendency of

the Chapter 11 Case, subject to approval by the Court’s interim compensation procedures. For the

avoidance of doubt, Debtor shall not be a signatory to the Escrow Account and no portion of the

net proceeds from the sale shall be deposited into the Debtor’s debtor-in-possession bank account.

At the conclusion of the Chapter 11 Case, any excess amounts in the Escrow Account shall be

distributed in accordance with a plan confirmed in the Chapter 11 Case or as otherwise ordered by

the Bankruptcy Court or agreed to by Debtor, the Official Committee, the Texas Plaintiffs, and the

Connecticut Plaintiffs. It is further

        ORDERED that notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of

this Order shall be immediately effective and enforceable upon the entry of this Order and the

Debtor is authorized to immediately close the sale. It is further

        ORDERED that this Court shall retain jurisdiction to hear and determine all matters arising

from the implementation of this Order.




          August
          May     02, 2019
              22, 2024
                                        _______________________________________________
                                        UNITED STATES BANKRUPTCY JUDGE
                                        CHRISTOPHER M. LOPEZ




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